     Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 1 of 23




                        UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW MEXICO


Hamid Frank Riasati,

      Plaintiff,                                 Civil Action
                                                 File No.
      vs.

Danish Salim and Mohammad Salim,

      Defendants.


                                    COMPLAINT

                                      Summary

1.    This is a fraudulent transfer action. In the State of Georgia, a civil fraud

      judgment, including punitive damages, was entered against Defendant

      Mohammad Salim, (Mohammad Salim), and a company named after his son,

      and co-defendant, Danish Salim, (Danish Salim). Most of the judgment has

      not been paid.

2.    To avoid paying the judgment, Mohammad Salim moved to New Mexico.

      Then he indirectly purchased a home in a Farmington, New Mexico country

      club neighborhood, arranging for the home’s title to be held by his son,

      Danish Salim, who paid no money to his father for the home. Judgement

      debtor Mohammad Salim, lives in, and controls, the home. Shortly after the

      home purchase, Mohammad Salim purchased an empty lot in his

      neighborhood, had the title placed in his son’s name and, last year, sold it.




                                           1
     Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 2 of 23




3.    Plaintiff Hamid Frank Riasati, (Frank Riasati), is requesting this Court to

      avoid the transfer to Danish Salim, then either place title to the home’s deed

      into Mr. Riasati’s name or allow Mr. Riasati to execute and levy upon the

      home. Also, he is asking this Court to impose liability upon Danish Salim in

      an amount equal to the empty lot’s sales price.

                                        Parties

4.    Plaintiff Frank Riasati is a resident of, and domiciled in, the State of Georgia.

5.    Defendant Danish Salim is a resident of, and domiciled in, the State of New

      Mexico. He resides at 6415 Tear Drop Court, Farmington, San Juan County,

      New Mexico.

6.    Defendant Mohammad Salim is a resident of, and domiciled in, the State of

      New Mexico. He resides at 6415 Tear Drop Court, Farmington, San Juan

      County, Mexico.

                               Jurisdiction and Venue

7.    Pursuant to 28 U.S.C. § 1332(a), this Court has diversity jurisdiction. Plaintiff

      Frank Riasati is a citizen of, and domiciled in, the State of Georgia. Defendant

      Danish Salim is a citizen of, and domiciled in, the State of New Mexico.

      Defendant Mohammad Salim is a citizen of, and domiciled in, the State of

      New Mexico. Plaintiff Frank Riasati’s claim exceeds $75,000.

8.    Pursuant to 28 U.S.C. § 1391(b)(1) and (2), venue is properly laid within this

      district because both defendants reside in the district, because a substantial

      part of the events and omissions giving rise to the claims occurred in this




                                           2
      Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 3 of 23




       district, and because a substantial part of property that is subject of the action

       is situated in this district.

                                    Count 1
                        Intentional Fraudulent Transfer
      (Uniform Fraudulent Transfer Act - N. M. S. A. 1978, § 56-10-18(A)(1))1
              vs. Defendants Danish Salim and Mohammad Salim

9.     A civil fraud judgment (including punitive damages) was entered in favor of

       Frank Riasati (and others), and against Mohammad Salim and a business

       entity he controlled, Danish Group, Inc. It was entered during 2011 in the

       case, Lawrenceville Food Mart, Inc., Hamid Frank R. Riasati and Mohammad H.

       Riasati vs. Danish Group, Inc. and Mohammad Salim, State Court of Gwinnett

       County, Georgia, civil action file number 09-C-04096-S5.

10.    When the judgment was entered, Mohammad Salim resided in the State of

       Georgia.

11.    This Georgia judgment has been registered in the New Mexico Eleventh

       Judicial District Court, San Juan County, New Mexico. A copy is attached as

       “Exhibit 1.”

12.    To date, most of the judgment has not been paid. The approximate unpaid

       balance is $1,551,459. Mohammad Salim refuses to pay this debt.




1The Uniform Voidable Transactions Act’s section 29, N. M. S. A. 1978, § 56-10-29
(A)(2)(a), effective January 1, 2016, states the Act does not apply to “a transfer made
or an obligation incurred before January 1, 2016,” and, instead, is governed by the
repealed Uniform Fraudulent Transfer Act. The judgment (obligation) being
enforced in this case was entered against Mohammad Salim before January 1, 2016.
Therefore the Uniform Fraudulent Transfer Act governs the asserted claims.


                                            3
      Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 4 of 23




13.    On November 30, 2017, Mohammad Salim indirectly purchased a home in

       San Juan Country Club Estates, located at 6415 Tear Drop Court, Farmington,

       New Mexico (Farmington Home).

14.    Title to the Farmington Home was held by FUELCO US, LLC, a Delaware

       corporation, with an address of 8595 Dunwoody Place, Atlanta, Georgia.

15.    Mr. Salim was associated or affiliated with FUELCO US, LLC.

16.    From at least December 2017 to present, Mohammad Salim and his family

       have resided in the Farmington Home. He has continuously retained control

       of the property.

17.    Mohammad Salim held, and holds, a beneficial interest in the Farmington

       Home.

18.    Mohammad Salim directed FUELCO US, LLC to quit claim the Farmington

       Home’s title to his son, Danish Salim. A copy of the quit claim deed is

       attached as “Exhibit 2.”

19.    The quit claim deed was signed on July 30, 2019. It was recorded with the San

       Juan County Clerk on August 12, 2019, perfecting Danish Salim’s interest in

       the property and effectuating the transfer.

20.    Danish Salim did not give reasonably equivalent value for the Farmington

       Home transfer.

21.    If anyone gave value for the Farmington Home transfer, it was his father,

       Mohammad Salim.

22.    Mohammad Salim did not receive reasonably equivalent value in exchange

       for the transfer of the Farmington Home to his son, Danish Salim.


                                           4
      Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 5 of 23




23.    When the quit claim deed was transferred, and after it was transferred, the

       title to the Farmington Home was unencumbered. There were no secured

       creditors.

24.    Mohammad Salim arranged for his son, Danish Salim, to hold title to the

       Farmington Home to hinder, delay, and defraud his creditors, including

       judgment creditor Frank Risiati.

25.    Now, Danish Salim is holding title to the Farmington Home to help his father,

       Mohammad Salim, hinder, delay, and defraud his creditors, including

       judgement creditor Frank Riasati.

26.    At the time of the transfer, Mohammad Salim, was insolvent.

27.    At the time Danish Salim took title to the Farmington Home, he was

       approximately 23 years of age.

28.    The Farmington Home’s value, assessed by San Juan County, is

       approximately $451,000.

                                   Count 2
                       Constructive Fraudulent Transfer
        (Uniform Fraudulent Transfer Act - N. M. S. A. 1978, § 56-10-19(A))
              vs. Defendants Danish Salim and Mohammad Salim

29.    Plaintiff realleges and incorporates by reference the above paragraphs.

30.    When the quit claim deed to the Farmington Home was delivered to Danish

       Salim, his father, Mohammad Salim, did not receive equivalent value for the

       home.

31.    At the time of transfer, Mohammad Salim had not paid the Georgia civil

       fraud judgment, (Exhibit 1).




                                           5
      Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 6 of 23




32.    He was insolvent.

33.    The transfer occurred after the judgment, (Exhibit 1), was entered against him.

                                    Count 3
                        Intentional Fraudulent Transfer
       (Uniform Fraudulent Transfer Act - N. M. S. A. 1978, § 56-10-18(A)(1))
              vs. Defendants Danish Salim and Mohammad Salim

34.    Plaintiff realleges and incorporates by reference the above paragraphs.

35.    After the Farmington Home purchase, Mohammad Salim indirectly

       purchased an empty lot in the San Juan Country Club Estates, near the

       Farmington Home. (Empty Lot). Its address is 6409 Tear Drop Court,

       Farmington, New Mexico.

36.    Just as with the Farmington Home purchase, he directed the Empty Lot’s title

       to be held by his son, Danish Salim. A copy of the deed is attached as “Exhibit

       3.”

37.    Mohammad Salim provided the money to purchase the Empty Lot.

38.    Danish Salim did not pay value to his father, Mohammad Salim, for the title

       to the Empty Lot.

39.    This was an avoidable transfer.

40.    Before and after the transfer, title to the Empty Lot was unencumbered. There

       were no secured creditors.

41.    At the time of the transfer, the Empty Lot’s assessed value, determined by San

       Juan County, was approximately $60,000.

42.    During 2021, Danish Salim sold, and transferred title to, the Empty Lot.




                                          6
     Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 7 of 23




      Wherefore, Plaintiff Frank Riasati requests this Court to:

   a. Avoid the transfer of the Farmington Home to Danish Salim and reform all

      records to place title to the property in the name of Frank Riasati; or

   b. Order that Frank Riasati may levy execution on the Farmington Home; plus

   c. Enter judgment against Danish Salim in an amount equal to the value of the

      Empty Lot at the time he sold and transferred it; and

   d. Any other relief the circumstances may require.


Dated: May 9, 2022



John M. McGovern
U.S. District Court, District of New Mexico Bar ID 22-90
McGovern Law Firm
7000 Miller Court East
Norcross, GA 30071-1454
404.920.8510
404.920.8512 (fax)
jmcgovern@mcgovernfirm.com




                                          7
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 8 of 23




                            Exhibit 1


                            Judgment
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 9 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 10 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 11 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 12 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 13 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 14 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 15 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 16 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 17 of 23
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 18 of 23




                               Exhibit 2


      Quit Claim Deed (Farmington Home) To Defendant Danish Salim
     Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 19 of 23




WHEN RECORDED, RETURN TO:
                                                  IllllllllllllllllllllllllllllllllllllllllIIlIlllllll11111111111111111111111
Danish Salim
                                                  201907640 08/12/2019 02 :29 PM
6415 Tear Drop Court
                                                  1 of 3              81646 P808 $25.00
Farmington NM, 87402                              San Juan County, NM TANYA SHELBY



                          SPACE ABOVE THIS LlNE FOR RECORDER'S USE

                                      QUITCLAIM DEED

       FUELCO US, LLC, a Delaware limited liability company, with an address of 8595 Dunwoody
Place, Atlanta, Georgia 30350 ("Grantor")for Ten Dollars and other valuable consideration, does
hereby grant, bargain, sell and convey unto Danish Salim, with an address of 6415 Tear Drop
Court, Farmington NM 87402 ("Grantee"), without warranty, that certain real property legaHy
described on EXHIBIT A attached hereto and incorporated herein by reference, and any and all
improvements thereon and appurtenances thereto (the "Property"), subject to all taxes,
assessments and any other liens arising therefrom, all reservations in patents, deed restrictions, if
any, all easements, rights of way, covenants, conditions, restrictions, encroachments, liens,
encumbrances, obligations and liabilities, and all other matters that can be determined by a visual
inspection or a complete and accurate survey ·of the Property would disclose.

       TO HAVE AND TO HOLD the said Property above bargained and described with the
appurtenances, unto said Grantee, Grantee's heirs, successors and assigns forever.

   [BALANCE OF PAGE INTENTIONALLY BLANK; SIGNATURES ON FOLLOWING
                                              PAGE}
               Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 20 of 23
f




                 IN WI1NESS WHEREOF, Grantorhas executed this Quit Claim Deed as of July 30, 2019.

                                                                FUELCOUS, LLC,
                                                                a Delaware limited liability company



                                                                By:       .....¥.:ll,f=F-1,1.-11~~'-=--------

                                                                Name:          ..µ..~---e::::&..~ua...,g&.Jl'-------

                                                                Title:__,_~~l,Al..::::.._                         ______   _

        STATE OF        &&ot"'.ir             )

                                              ) ss.
        COUNTY OF           f111.,0,,J        )

                The foregoing instrument was acknowledged before me this 30 day of July 2019, by Mark
        E. Stowers as a Manager ofFUELCO US, LLC, a Delaware limited liability company, on behalf
        of the company. He is personally known to me or has produced a driver's license as identification.




    Illf111
         lflllllllIllllllllllllmllllIIIII
                                       III1111111111111111111111111
                                                       II1111
    201907640                 08/12/2019 02:29 PM
    2 of 3                    B1646 PS0S
    San Juan County,NM TANYASHELBY




                                                                      2
     Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 21 of 23




                                            EXHIBITA

 Address:
 6415 Tear Drop Court
 FarmingtonNM; 87402


                              '~°'\
                                __1)ce_sc._~q
                                          1tD\t\  0
                              .....___,..______,___,....

      ~1..\1>\"'
  s °'"'                          st°'te..,;;.
                  "'-t~ c..I4.b I.:.
                      e,I,\

  f' hqs.eQ 1\lo.2.. \ ot \~I B\<- {62-.lf
  P.G 4'-f1

111111111111111111111!
            11111111111111111111111111111111111111111111111111111
201907640      08/12/2019 02:29 PM
3 of 3         B1646 P808
San Juan County,NM TANYASHELBY




                                              3
Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 22 of 23




                              Exhibit 3


          Warranty Deed (Empty Lot) To Defendant Danish Salim
    Case 1:22-cv-00358-SCY-LF Document 1 Filed 05/09/22 Page 23 of 23

        144389




*      addressis:
        6'/IL~r?tf{JJ
                                    ~
                                                      WARRANTYDEED
       BrianHesserand MauriceHesser,husbandandwire,forconsideration
                                                                  paid,grant10 DanishSalim,an unmarriedman whose




       the followingdescribedrealestatein SanJuanCounty,New Mcxklo:



       Unit/Lot120,of SANnJAN COUNTRYCLUBESTATES,PHASEII, NUMBERTWO, in the City of
       Fa.nnlngton,New Mexico,accordingto the Platthereoffiled for recordon August9, 2005,Map File No. 0-81, as
       establishedby the Declarationof SanJuan CountryClubEstatesrecordedin Book936, page 45 and in Book936,
       page387 and lhe SecondAmendedand SupplementDeclarationof SanJuan CountryClubEstates,as recordedin
       Book 1374,page960 and re-recordedin Book 1385,page280 of lhe Recordsof SanJuan County,New Mexico.


       SUBJECTTO taxesfor1heyear2019andthel"llaftcr;    mineraln:senationsand/orconveyancesheretoforemade;and anyand
       all easementsandservirudes,publicor private,of whatsoever
                                                               kindor nature,in existenceat thedatehereof;

       withwarn.mycovenants.




                                        ACKNOWLEDGMENT
                                                    FORNATURALPERSONS

       STATEOF   b-1
                   M.       )
       COUNTYOF J2imlAl\rtft~ SS.                            ~
                                   beforemethis
       Thisinstrwnentwasacknowledged                     1             dayofM!x, 2.Qli,

       """"'""'.""'":Murioo"""'-h"""""..,·
       My   CO!JJ□SSIODrz:JF~   1
                                                                  lt1~[fvti17' . .   .. ·
               71 I1      I)                                        olaly Public


                                                                       OFFICIAL SEAL
                                                                    ELENA NEVAREZ
                                                                       Notary Pub/le
                                                                   Stale of New Me ico
                                                  M Commission E,c Ires




                       lllllll
                           llllllllllllllllllll
                                            llllllllllllllIllllllllll
                                                                  llllllllllllllIllllllll
                      201904617 05/20/2019 09:26 AM
                      1 of 1   81643 P831 $25.00
                      San Juan County, NM TANYA SHELBY                                                        CAM      •
